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t-‘st.ao _L,$L;§§'i{o.<;.

lN THE UNITED STATES DISTRICT COURT 95¢,11:_|§{ [9 pH y¢ 39

FOR THE WESTERN DISTRlCT OF TENNESSEE
WESTERN DlVISlON

 

 

JlT CONCEPTS, INC.,

Plaintiff, Case No.: 02-2891 D V
v.
SHELBY COUNTY HEALTHCARE
CORPORATION d/b/a REGIONAL
MEDICAL CENTER AT MEMPHIS,

Defendant.

 

ORDER DENYING MOTION IN LIMINE TO EXCLUDE THE UNDATED LETTER

 

IT APPEARING TO THE COURT that the motion of Plaintiff, JIT Concepts, Inc., to
Exclude the Undated Letter, attached as Exhibit l to the motion, is not well-founded and should be
DENIED. The letter is relevant as to why the MED terminated the contract Deflciencies with the
letter may be challenged through cross-examination

IT lS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the motion in limine
to exclude the Undated Letter is DENIED.

rr IS So oRDERED this _/_/"'" day of_`Z)Wé ,.2005

§EZ>,Q:M

BE‘.'RNICE BoUIE DoNALD
UNITED STATES DISTRICT JUDGE

Thle document entered on the docket sheet tn compliance

with eula 53 and/or reta) FecP on 5 -11'05 q {

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 91 in
case 2:02-CV-02891 was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

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